Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 1 of 63   PageID 11




                           EXHIBIT 1
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 2 of 63   PageID 12
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 3 of 63   PageID 13
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 4 of 63   PageID 14
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 5 of 63   PageID 15
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 6 of 63   PageID 16
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 7 of 63   PageID 17
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 8 of 63   PageID 18
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 9 of 63   PageID 19
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 10 of 63   PageID 20
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 11 of 63   PageID 21
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 12 of 63   PageID 22
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 13 of 63   PageID 23
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 14 of 63   PageID 24
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 15 of 63   PageID 25
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 16 of 63   PageID 26
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 17 of 63   PageID 27
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 18 of 63   PageID 28
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 19 of 63   PageID 29
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 20 of 63   PageID 30
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 21 of 63   PageID 31
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 22 of 63   PageID 32
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 23 of 63   PageID 33
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 24 of 63   PageID 34
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 25 of 63   PageID 35
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 26 of 63   PageID 36
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 27 of 63   PageID 37
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 28 of 63   PageID 38
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 29 of 63   PageID 39
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 30 of 63   PageID 40
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 31 of 63   PageID 41
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 32 of 63   PageID 42
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 33 of 63   PageID 43
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 34 of 63   PageID 44
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 35 of 63   PageID 45
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 36 of 63   PageID 46
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 37 of 63   PageID 47
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 38 of 63   PageID 48
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 39 of 63   PageID 49
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 40 of 63   PageID 50
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 41 of 63   PageID 51
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 42 of 63   PageID 52
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 43 of 63   PageID 53
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 44 of 63   PageID 54
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 45 of 63   PageID 55
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 46 of 63   PageID 56
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 47 of 63   PageID 57
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 48 of 63   PageID 58
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 49 of 63   PageID 59
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 50 of 63   PageID 60
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 51 of 63   PageID 61
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 52 of 63   PageID 62
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 53 of 63   PageID 63
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 54 of 63   PageID 64
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 55 of 63   PageID 65
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 56 of 63   PageID 66
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 57 of 63   PageID 67
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 58 of 63   PageID 68
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 59 of 63   PageID 69
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 60 of 63   PageID 70
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 61 of 63   PageID 71
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 62 of 63   PageID 72
Case 1:21-cv-01155-STA-jay Document 1-1 Filed 10/15/21 Page 63 of 63   PageID 73
